              IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


NATERA, INC.,

                 Plaintiff,

     v.                                C.A. No. 1:23-CV-629

NEOGENOMICS LABORATORIES,
INC.,

                 Defendant.


DEFENDANT NEOGENOMICS LABORATORIES, INC.’S MEMORANDUM IN
      SUPPORT OF ITS MOTION TO MODIFY AND/OR CLARIFY


                        FILED UNDER SEAL
                [EXPEDITED TREATMENT REQUESTED]




 Case 1:23-cv-00629-CCE-JLW   Document 179   Filed 12/29/23   Page 1 of 13
                                           TABLE OF CONTENTS
                                                                                                                   Page(s)

I.       MOTION TO MODIFY OR CLARIFY .................................................................. 1

         A.       The Injunction Is Overbroad ......................................................................... 2

         B.       The Court Should Require A Bond ............................................................... 3

         C.       Clarification Is Needed.................................................................................. 5

II.      CONCLUSION ........................................................................................................ 7




                                                              i




      Case 1:23-cv-00629-CCE-JLW                    Document 179              Filed 12/29/23           Page 2 of 13
                                           TABLE OF AUTHORITIES
                                                                                                                         Page(s)

Cases

Acceleration Bay LLC v. Elec. Arts Inc.,
  2019 WL 1376036 (D. Del. Mar. 27, 2019) .................................................................... 2

Fleet Feet, Inc. v. Nike Inc.,
  419 F. Supp. 3d 919 (M.D.N.C. 2019) ............................................................................ 4

Gottschalk v. Benson,
 409 U.S. 63 (1972)........................................................................................................... 2

Hoechst Diafoil Co. v. Nan Ya Plastics Corp.,
 174 F.3d 411 (4th Cir. 1999) ....................................................................................... 3, 4

Home Gambling Network, Inc. v. Piche,
 2013 WL 5492568 (D. Nev. Sept. 30, 2013) ................................................................... 2

NTP, Inc. v. Rsch. In Motion,
 418 F.3d 1282 (Fed. Cir. 2005), abrogated in part on other grounds by Zoltek
 Corp. v. United States, 672 F.3d 1309 (Fed. Cir. 2012) (en banc) .................................. 2

Pashby v. Delia,
  709 F.3d 307 (4th Cir. 2013) ........................................................................................... 4

Steves & Sons, Inc. v. JELD-WEN, Inc.,
  2020 WL 2312030 (E.D. Va. May 8, 2020) .................................................................... 4

Wright’s Well Control Servs., LLC v. Oceaneering Int’l, Inc.,
 2017 WL 3706344 (E.D. La. Aug. 28, 2017) .................................................................. 3

Statutes and Regulations

35 U.S.C. § 271(b) ............................................................................................................... 3

Rules

Local Rule 7.3(d) ................................................................................................................. 9




                                                                 ii




    Case 1:23-cv-00629-CCE-JLW                          Document 179               Filed 12/29/23            Page 3 of 13
I.      MOTION TO MODIFY OR CLARIFY

        NeoGenomics     Laboratories,    Inc.       (“NeoGenomics”)   respectfully   requests

modifications and/or clarifications of this Court’s preliminary injunction order (of

December 27, 2023) to eliminate legal over-breadth, impose the required security and add

specificity. NeoGenomics requests expedited treatment of this motion given the immediate

harm and a response to this motion by January 2, 2024.

        First, the injunction should be modified to clarify that NeoGenomics is enjoined

only from the infringing use or inducing infringing use of the ’035 Patent in the United

States. A method patent, like the ’035 Patent, is directly infringed by actual use, not merely

by sales or manufacture of a test. The injunction, however, improperly treats the ’035

Patent as though it were a product patent. In addition to prohibiting the use of the patented

method, it improperly prohibits NeoGenomics from making, selling, or offering to sell

RaDaR. This is overbroad because it enjoins activity that is not unlawful. For example,

even if the actual use of the steps of the RaDaR test (and thus the alleged infringement of

the ’035 Patent) lawfully occurs outside of the United States, the current form of the

injunction would appear to prevent legitimate activity by preventing the making of the

components, and selling, or offering to sell such testing. The injunction should be limited

to prohibiting the actual “use” of the RaDaR to amplify and sequence cfDNA test in the

United States and the promotion of such “uses” in the United States of the RaDaR test.

        Second, the injunction should be modified to require Natera to post security. Rule

65(c) requires a court to assess whether and in what amount security is necessary before

                                                1




     Case 1:23-cv-00629-CCE-JLW         Document 179        Filed 12/29/23   Page 4 of 13
issuance of a preliminary injunction. Such security should be based on the likely injury to

the restrained party if the injunction ultimately is determined to have been entered in error.

And here, the evidence shows that NeoGenomics faces injury of approximately $400

million or more from the preliminary injunction. NeoGenomics thus requests that the

injunction be modified to require Natera to post security in the amount of $400 million.

       Third, NeoGenomics seeks clarification regarding the permissible uses of RaDaR

for existing clinical testing, scientific reporting, and planned pharmaceutical research.

       A.     The Injunction Is Overbroad

       The injunction is overbroad as a legal matter in that it prohibits NeoGenomics from

“making, using, selling, or offering for sale in the United States” RaDaR or any assay not

colorably different from RaDaR, and from “promoting, advertising, marketing, servicing,

distributing, or supplying” RaDaR “so as to induce others’ infringement.” D.I. 171 ¶ 2.

The ’035 Patent is a method patent, because it “is a mode of treatment of certain materials

to produce a given result.” Gottschalk v. Benson, 409 U.S. 63, 70 (1972) (quotation marks

omitted). However, the “use of a patented method does not infringe unless each of the

steps is performed within this country.” NTP, Inc. v. Rsch. In Motion, 418 F.3d 1282, 1318

(Fed. Cir. 2005) (quotation marks omitted), abrogated in part on other grounds by Zoltek

Corp. v. United States, 672 F.3d 1309 (Fed. Cir. 2012) (en banc); see also Acceleration

Bay LLC v. Elec. Arts Inc., 2019 WL 1376036, at *5 (D. Del. Mar. 27, 2019); Home

Gambling Network, Inc. v. Piche, 2013 WL 5492568, at *6 (D. Nev. Sept. 30, 2013).

“Neither the Federal Circuit nor the Supreme Court has ever recognized that one may

                                              2




   Case 1:23-cv-00629-CCE-JLW          Document 179       Filed 12/29/23     Page 5 of 13
infringe a method claim by selling or offering to sell a service that performs the method.”

Wright’s Well Control Servs., LLC v. Oceaneering Int’l, Inc., 2017 WL 3706344, at *3

(E.D. La. Aug. 28, 2017).

       Under these principles, the Court cannot enjoin NeoGenomics from “making,”

“selling” or “offering” RaDaR in the United States—it can only enjoin NeoGenomics from

actually “using” the patented process within the United States. Likewise, NeoGenomics

can be enjoined from inducement of infringement through “promoting, advertising,

marketing, servicing, distributing, or supplying” RaDaR so as “to induce others’

infringement” only insofar as that is actual use in the United States. See 35 U.S.C. § 271(b)

(indirect infringement requires third-party infringement in the United States).         The

injunction must therefore be modified to prohibit only the “use” of RaDaR to practice the

patented process in the United States, and to prohibit only those marketing or advertising

efforts that induce infringement via actual use of the ’035 Patent in the United States. A

proposed revised injunction accompanies this motion.

       B.     The Court Should Require Security

       Under Federal Rule of Civil Procedure 65(c), “[t]he court may issue a preliminary

injunction or a temporary restraining order only if the movant gives security in an amount

that the court considers proper to pay the costs and damages sustained by any part found

to have been wrongfully enjoined or restrained.” (emphasis added). Accordingly, “[a]

district court must fix a bond whenever it grants a preliminary injunction or restraining

order.” Hoechst Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 421 (4th Cir. 1999)

                                             3




   Case 1:23-cv-00629-CCE-JLW          Document 179       Filed 12/29/23    Page 6 of 13
Case 1:23-cv-00629-CCE-JLW   Document 179   Filed 12/29/23   Page 7 of 13
       C.     Clarification Is Needed

       NeoGenomics also seeks clarification of paragraph 3 of the injunction, which

exempts from its scope the use of RaDaR “in support of research and development with

other persons or entities on projects or studies that began before the entry of this injunction”

or “for use in or support of clinical trials in process or already approved by an agency of

the United States.” D.I. 171 ¶ 3. The Court included these exemptions because “there are

clinical trials and research projects, which depend on the use of RaDaR, in process or

approved to begin,” and that “[t]he public interest does not support enjoining these uses.”

D.I. 169 at 21. The Court further “agree[d] that avoiding disruption to ongoing treatment,

research, and clinical studies is proper.” Id. NeoGenomics seeks clarification as to the

scope of these exemptions.

       First, NeoGenomics currently has three contracts for clinical testing and use of

RaDaR that have been signed by all relevant parties, but for which actual testing of samples

has not yet begun. Sikri Decl. ¶ 3. These contracts present the same concerns outlined by

the Court in the Order, namely, that enjoining NeoGenomics from completing those

contracts would unduly disrupt the important clinical work of third parties, requiring them

to either abandon the trial or start from scratch seeking a new partner. Id. All three of

these contracts involve trials that have been approved by the applicable institutional review

board, with NeoGenomics specifically named as supplying the assay. Id. Cancellation of

these contracts would be costly. Id. Additionally, the evidence shows that the higher

sensitivity of RaDaR makes it the only viable option for some pharmaceutical companies,

                                                5




   Case 1:23-cv-00629-CCE-JLW           Document 179       Filed 12/29/23     Page 8 of 13
D.I. ¶¶ 29–39, 43, meaning that NeoGenomics’s execution of these contracts is unlikely to

divert any business from Natera. NeoGenomics requests clarification that the injunction

does not prohibit its performance under those contracts.

       Second, NeoGenomics has another four contracts for clinical testing and use of

RaDaR that are well into the drafting and negotiation stage, but which have not yet actually

been signed by the parties.      Sikri Decl. ¶ 4.    In each case, the client has selected

NeoGenomics as its preferred vendor, but the parties have not yet finalized the precise

terms of the contract. Id. Aside from the legal distinction that there is no executed contract,

these projects are not in a materially different state than the three executed contracts noted

above. Id. Cancellation of these projects would be costly to both the pharmaceutical

companies and patients, as would be starting over from scratch with a different assay. Id.

And again, there is no probability that Natera would earn these contracts if NeoGenomics

did not—and if Natera did earn those contracts, it would do so with a less sensitive assay,

potentially impacting the efficacy of the trials. NeoGenomics thus likewise requests

clarification that it may proceed with negotiation, execution, and performance of those

contracts.

       Finally, NeoGenomics wishes to advise the Court that a small number (<100) of

patient blood samples were taken prior to the issuance of the injunction and are still in the

process of being delivered to NeoGenomics for testing. Sikri Decl. ¶ 10. Those samples

all have arrived and can be tested within the next month and are likely less than 100. Id.

The samples cannot be diverted to a different provider, because blood samples deteriorate
                                               6




   Case 1:23-cv-00629-CCE-JLW           Document 179       Filed 12/29/23     Page 9 of 13
quickly and it is imperative that NeoGenomics process them immediately, or else patients

will suffer unnecessary delays in treatment. Id. ¶ 9. NeoGenomics believes that this testing

falls within the exemption under paragraph 3 for continued use of RaDaR “for those

patients already using it before the entry of this injunction,” but is advising the Court of

this use for transparency.

       NeoGenomics also intends to engage in scientific reporting in publications and

conferences regarding RaDaR. Several abstracts that present clinical research, updated

analysis and longitudinal monitoring of cancer patients utilizing the RaDaR assay have

been accepted and are scheduled to be presented at upcoming scientific conferences,

including by third-party authors, such as the American Association for Cancer Research

Annual Meeting, which will take place April 5-10, 2024 in San Diego, CA. In addition,

clinical research and analyses utilizing the RaDaR assay have been submitted to scientific

journals or are pending submission to scientific journals. See Sikri Decl. ¶ 7. Continued

scientific reporting regarding RaDaR is an important component of allowing for innovation

in the field of cancer detection, and it thus benefits patients and the public more generally

to continue to research and discuss the RaDaR assay. NeoGenomics does not understand

the injunction to prevent scientific reporting in publications and at conferences.

II.    CONCLUSION

       For the foregoing reasons, NeoGenomics respectfully requests that the Court modify

the injunction to clarify that it does not reach lawful use of the patented method outside of

the United States, modify the injunction to require Natera to post security in the amount of

                                             7




  Case 1:23-cv-00629-CCE-JLW          Document 179       Filed 12/29/23    Page 10 of 13
$400 million, and clarify that NeoGenomics may proceed with the clinical trials and testing

described above.

      This the 29th day of December, 2023,

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                                             8




  Case 1:23-cv-00629-CCE-JLW         Document 179         Filed 12/29/23   Page 11 of 13
                         CERTIFICATE OF WORD COUNT

       The undersigned counsel hereby certifies that this brief complies with the word

count limitations of Local Rule 7.3(d).

Dated: December 29, 2023

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                                                9




  Case 1:23-cv-00629-CCE-JLW         Document 179           Filed 12/29/23   Page 12 of 13
                           CERTIFICATE OF SERVICE

      I hereby certify that on December 29, 2023, I electronically filed the foregoing

DEFENDANT NEOGENOMICS LABORATORIES, INC.’S MEMORANDUM IN

SUPPORT OF ITS MOTION TO MODIFY AND/OR CLARIFY with the Clerk of

Court using the CM/ECF system.

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                                          10




  Case 1:23-cv-00629-CCE-JLW       Document 179     Filed 12/29/23   Page 13 of 13
